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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA


                                        Alexandria Division


UNITED STATES OF AMERICA


               V.

                                                       Case No. l:19-mj-188
GEORGIY SERYOGIN,
       a/k/a "George Seryogin'

               Defendant.



 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT AND ARREST WARRANT

       I, Jeffrey Fuller, Special Agent with the Federal Bureau ofInvestigation, being first duly

sworn, hereby depose and state as follows:

                               INTRODUCTION AND BACKGROUND


        1.     I submit this affidavit in support of a criminal complaint and arrest warrant

charging GEORGIY SERYOGIN,a/k/a "George Seryogin," who did knowingly and

intentionally engage in sexual contact with "Jane Doe" without her permission on or about July

27,2018, while aboard nonstop United Airlines Flight 804 from Tokyo, Japan to Washington

Dulles International Airport, Dulles, Virginia, an aircraft in flight within the special aircraft

jurisdiction of the United States, in violation of Title 18, United States Code, Section 2244(b)

and Title 49, United States Code, Section 46506(1), to wit: GEORGIY SERYOGIN intentionally

touched the inner thigh and vagina of"Jane Doe," through her clothing and without her

permission, with an intent to abuse, humiliate, harass, and degrade "Jane Doe," and to arouse and

gratify the sexual desire ofany person.

        2.     I am a Special Agent with the Federal Bureau ofInvestigation ("FBI")in the

Washington Field Office. I have been employed with the FBI for more than fourteen years, and I

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have received training from the FBI,including training in general law enforcement. Since May

2016,1 have been assigned to the Washington Dulles International Airport office of the FBI,

where I investigate violations offederal law which occur within the airport environment and

onboard aircraft. As part of my duties, I investigate crimes that occur within the special aircraft

jurisdiction ofthe United States and the special maritime and territorial jurisdiction ofthe United

States.


          3.   I gathered the following facts in support of a criminal complaint and arrest

warrant during the course of my investigation and through speaking with other individuals,

including "Jane Doe," the 19-year-old female victim in this case (hereinafter,"the Victim").

When I assert that a statement was made by an individual, that statement may be described in

substance and in part, but my assertion is not necessarily intended to constitute a verbatim

recitation ofthe entire statement. Because ofthe affidavit's limited purpose, I have included

facts sufficient to support probable cause, but I have not included every fact discovered during

the investigation or known to the government.

                          RELEVANT STATUTORY PROVISIONS


          4.   Title 49, United States Code, Section 46506, provides in relevant part that any

individual "on an aircraft in the special aircraft jurisdiction ofthe United States who commits an

act that—(1)if committed in the special maritime and territorial jurisdiction ofthe United States

(as defined in section 7 oftitle 18) would violate ... chapter 109A of title 18, shall be fined

under title 18, imprisoned under that section or chapter, or both."

          5.   Title 49, United States Code, Section 46501(2)(A) provides that the "special

aircraftjurisdiction ofthe United States" includes "a civil aircraft ofthe United States" that is an

"aircraft in flight." Title 49, United States Code, Section 46501(1)states in relevant part that the
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term "aircraft in flight" includes "an aircraft from the moment all external doors are closed

following boarding—(A)through the moment when one external door is opened to allow

passengers to leave the aircraft." Additionally, Title 49, United States Code, Section

46501(2)(D)(i) provides that the "special aircraft jurisdiction ofthe United States" includes an

aircraft outside the United States "that has its next scheduled destination or last place of

departure in the United States, if the aircraft next lands in the United States."

         6.    Title 18, United States Code, Section 2244(b), which falls under chapter 109A of

Title 18, provides in relevant part "[wjhoever,in the special maritime and territorial jurisdiction

ofthe United States ...knowingly engages in sexual contact with another person without that

other person's permission shall be fined under this title, imprisoned not more than two years, or

both."


         7.    Title 18, United States Code, Section 2246(3) defines the term "sexual contact,"

as used in chapter 109A of Title 18, to mean "the intentional touching, either directly or through

the clothing, of the genitalia, anus, groin, breast, inner thigh, or buttocks of any person with an

intent to abuse, humiliate, harass, degrade, or arouse or gratify the sexual desire of any person."

                                       PROBABLE CAUSE


         8.    On or about July 27, 2018,the 19-year-old Victim was a passenger on United

Airlines Flight 804(hereinafter,"the Flight"), a nonstop civil aircraft which departed from Narita

International Airport in Tokyo, Japan and arrived at Washington Dulles International Airport in

Dulles, Virginia, which is located within the Eastern District of Virginia. Upon information and

belief. United Airlines is incorporated, registered, and headquartered in the United States.

         9.    Defendant GEORGIY SERYOGIN,a dual national of Russia and the United

States, is a resident ofthe Commonwealth of Massachusetts. Defendant SERYOGIN,who was
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46-years-old at the time he committed the abusive sexual contact described in this affidavit, was

a passenger on the Flight. Defendant SERYOGIN occupied 26A,a window seat on the aircraft.

        10.    The Victim occupied 26B,a middle seat on the aircraft located directly next to

26A. The Victim had never met or spoken to Defendant SERYOGIN prior to sitting next to him

on the Flight. Business records provided by United Airlines confirmed the seating assignments

ofthe Victim and Defendant SERYOGIN.


        11.    Another passenger sat in 26C (hereinafter,"Passenger-1"),the aisle seat on the

aircraft in the same row as the Victim and Defendant SERYOGIN. Passenger-1 traveled aboard

the aircraft with a cat that was in a soft carrier on the passenger's lap during the Flight.

Passenger-1 reported to me that she slept for a while on the Flight.

        12.    All three individuals- Passenger-1, the Victim, and Defendant SERYOGIN -

said hello to each other and engaged in brief conversation while they were settling into their

seats. For example,the Victim told Defendant SERYOGIN about her trip to Southeast Asia, and

Defendant SERYOGIN told the Victim that he was traveling to Boston.

        13.    While the aircraft was in flight over the high seas, the Victim, who had been

sleeping, woke up when Defendant SERYOGIN reached across the Victim's body to pet the cat

that was in the carrier in seat 26C. Passenger-1 (the cat's owner) appeared to have previously

left her seat to go to the restroom. At this point, the Victim noticed that the armrest dividing her

seat and Defendant SERYOGIN's seat was in a raised position. Based on my training and

experience, individuals who commit sexual assaults aboard aircrafts often begin their sex crimes

by slowly making physical contact with their victims in order to test them and observe their

reactions, if any.
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       14.     Approximately 10 to 15 minutes later, the Victim felt Defendant SERYOGIN

rubbing her knee, without her permission. A few minutes later. Defendant SERYOGIN put his

hand against the Victim's vagina, through her clothing and without her permission, and began to

caress her vagina, while using his other hand to try to spread her legs apart. The Victim's face

was turned away from Defendant SERYOGIN,with her head down,as he sexually assaulted her.

The Victim was also quietly crying, with tears streaming down her face. The Victim then pushed

Defendant SERYOGIN's hands off her. Prior to sexually abusing the Victim, Defendant

SERYOGIN had lifted his armrest and positioned his blanket to partially cover one ofthe

Victim's legs, making it difficult for other passengers on the Flight to observe his actions.

According to the Victim, Passenger-1 appeared to have been sleeping, or at the very least,

looking straight ahead at the screen on the seat positioned in front of her. The Victim, however,

clearly saw Defendant SERYOGIN commit the abusive sexual contact described in this affidavit.

       15.     Following Defendant SERYOGIN's sexual assault on her, the Victim froze in

fear, feeling upset and confused, and did not know what to do or how to get away from him. The

Victim waited for a few minutes following the sexual assault and left her seat to use the restroom

after Defendant SERYOGIN appeared to fall asleep. The Victim then quickly approached a

flight attendant to report Defendant SERYOGIN's sexual assault on her.

       16.     The Victim first reported Defendant SERYOGIN's sexual assault on her to a

United Airlines flight attendant(hereinafter,"Airline Employee-1") who was working on the

Flight. Airline Employee-1 reported to me that while airborne, the Victim, who appeared to be a

yoxmg woman waiting near the rest room on the Flight, motioned for Airline Employee-1 to

come toward her. Airline Employee-1 observed that the Victim was visibly shaken. The Victim
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asked Airline Employee-1 if she could move to another seat and explained that the man seated

next to her had his hands on her.


       17.     At this point, Airline Employee-1 observed the Victim motion toward her vagina

area. Based on my training and experience, victims of sexual assault and similar crimes

sometimes have difficulty sajdng,in words,the exact parts ofthemselves that were touched.

Gestures and demonstrations are a more comfortable method ofexplaining unwanted and

frightening contact.

       18.     After the Victim recounted Defendant SERYOGIN's abusive sexual contact on

her. Airline Employee-1 brought the Victim to the galley ofthe aircraft and asked her to describe

what transpired to another flight attendant(hereinafter,"Airline Employee-2"). The Victim told

Airline Employee-2 that Defendant SERYOGIN did not accidentally touch her while he was

getting out of his seat. The Victim reported that he had his hands on her, and indicated between

her legs. The Victim stated that she froze and did not know what to do. The Victim then

reported the incident to a third flight attendant(hereinafter,"Airline Employee-3"), who learned

from the Victim that she was afraid to return to her seat due to Defendant SERYOGE^'s sexual

assault on her. Airline Employee-3 then moved the Victim to another seat on the aircraft.

       19.     I interviewed the Victim on multiple occasions, including shortly after the Flight

landed at Washington Dulles International Airport. The Victim's statements during these

interviews have been consistent. The Victim had not consumed any alcohol or any substances

that would have impaired her ability to perceive and recall the events surrounding the sexual

assault she suffered because of Defendant SERYOGIN's abusive conduct. The Victim

remembered that Defendant SERYOGIN had an accent and ordered a drink on the Flight.
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       20.     The Victim told me that, before she spoke to the Flight crew, she was scared and

uncomfortable at the prospect of describing what Defendant SERYOGIN had done to her. Given

her fear, the Victim was also afraid of confronting Defendant SERYOGIN. As a result, the

Victim typed a note on her phone within minutes of Defendant SERYOGIN's abusive sexual

contact, which she intended to show to a flight attendant while airborne. Although the Victim

worked up the courage to tell the Flight crew about the sexual assault, the note remained on her

phone. I obtained an electronic copy ofthe note, which is dated July 27,2018, and states in part,

"the man next to me was touching me in inappropriate places while i was asleep."

       21.     After the Flight landed at Washington Dulles International Airport, the Victim

quickly described the incident to her cousin via text messages. The Victim has provided me with

copies ofthis July 27,2018 conversation. In these messages, the Victim explained to her cousin,

in relevant part, that "this guy was touching me on the plane while i was asleep." When her

cousin asked how she knew that the man was sexually assaulting her, the Victim clarified that

she was "half asleep." The Victim specifically wrote that Defendant SERYOGIN touched her

"knee[,] thigh[,],[and] vag" and also stated that she was wearing "torn jeans so he had ez access

to my legs." The Victim's text messages to her cousin also corroborated the fact that she

"pushed his [Defendant SERYOGIN's]arms off her and that she "waited for him to sleep," at

which point she "told a flight attendant and asked to be moved."

       22.     The Victim also described the sexual assault to a fnend via an electronic

messaging application on July 27, 2018 after the Flight landed. The Victim has provided me

with copies ofthis conversation. In these messages, the Victim stated that Defendant

SERYOGIN rubbed her vagina outside her pants and was "groping me there." She also

explained "i like froze i was in shock and like i said i was scared to confront him ...."
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          23.   After Defendant SERYOGIN disembarked the plane, he was interviewed by your

affiant and another FBI Special Agent. Defendant SERYOGIN, who stated that he reads and

speaks English fluently, was apprised of his Miranda rights orally and in writing, acknowledged

imderstanding his rights orally and in writing, and voluntarily agreed to waive those rights, again

orally and in writing.

          24.   During the Mirandized interview. Defendant SERYOGIN stated that he was

seated in 26A on the aircraft next to a young woman who occupied the middle seat. Defendant

SERYOGIN stated that he helped this young woman place her luggage in the overhead

compartment and engaged in "small talk" with her for a short period oftime. Defendant

SERYOGIN stated that the woman who occupied the aisle seat in his row was traveling with a

cat, which became a topic ofconversation between him and the two women.

          25.   Defendant SERYOGIN stated that he drank approximately one glass of wine with

his first meal on the Flight and had approximately two glasses ofrum with his subsequent meals

while airborne. Defendant SERYOGIN stated that he was not "drunk" and denied being under

the influence of any medications, such as sleeping pills, during the Flight. Defendant

SERYOGIN recounted details concerning his activities on the Flight, such as the names of

movies he watched. He claimed that he fell asleep approximately four to five hours into the

Flight.

          26.   During the interview. Defendant SERYOGIN admitted that he raised the armrest

between him and the Victim. Defendant SERYOGIN further admitted that he spread out a

blanket after he raised the armrest, and before he alleged to have fallen asleep. Although

Defendant SERYOGIN claimed that he had no recollection of touching the Victim, he admitted

that it could have been possible because he does move around while sleeping. The Victim is



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confident, without any doubt, that Defendant SERYOGIN was awake when he sexually assaulted

her, and distinctly remembers that she quickly looked at him when she pushed his hands off her

inner thigh and vagina areas. At that point, the Victim stated that Defendant SERYOGIN

appeared to have a look ofregret on his face, knowing what he did to her.

                                          CONCLUSION


       27.     Based on the facts set forth above, I submit that this affidavit supports probable

cause for a criminal complaint and arrest warrant for GEORGIY SERYOGIN,a/k/a "George

Seryogin," who on or about July 27,2018, while aboard nonstop United Airlines Flight 804 from

Tokyo, Japan to Washington Dulles International Airport, an aircraft in flight within the special

aircraft jurisdiction ofthe United States, did knowingly and intentionally engage in sexual

contact with the Victim without her permission, to wit: GEORGIY SERYOGIN intentionally

touched the inner thigh and vagina ofthe Victim, through her clothing and without her

permission, with an intent to abuse, humiliate, harass, and degrade the Victim, and to arouse and

gratify the sexual desire ofany person.




                                                     JeffrrfyFuMer
                                                     Special Agent
                                                     Federal Bureau of Investigation




                                             /s/
                         Theresa Carroll Buchanan
                          United States Magistrate Judge

Honorable Theresa Carroll Buchanan
United States Magistrate Judge
Alexandria, Virginia
